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The Election
Influence Operations
Playbook
For State and Local Election Officials

Part 1:
Understanding Election
Mis and Disinformation




                                            DEFENDING DIGITAL DEMOC RACY
                                                          SEPTEMBER 2020
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International Affairs.


Design & Layout by Andrew Facini


Cover photo: A staff member in the Kweisi Mfume campaign uses gloves while holding a cell phone

during an election night news conference at his campaign headquarters after Mfume, a Democrat, won

Maryland’s 7th Congressional District special election, Tuesday, April 28, 2020, in Baltimore. (AP Photo/

Julio Cortez)


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                                                                                                                         DEFENDING DIGITAL DEMOC RACY
                                                                                                                                                                         AUGUST 2020




 The Election Influence Operations Playbook
 The      Cybersecurity
 Part 1: Understanding Election Mis and
 Disinformation
 Campaign Playbook

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a helpful resource for officials to best counter this pressing threat.


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About the Defending Digital
Democracy Project
We established the Defending Digital Democracy Project (D3P) in July 2017 with one goal: to help defend democratic
elections from cyber-attacks and information operations. Over the last three years, we have worked to provide campaign
and election professionals in the democratic process with practical guides, trainings, recommendations and support in
navigating the evolving threats to these processes.


In November 2017, we released “The Campaign Cybersecurity Playbook” for campaign professionals. In February
2018, we released a set of three guides designed to be used together by election administrators to understand pressing
cybersecurity threats to elections and recommendations to counter them: “The State and Local Election Cybersecurity
Playbook,” “The Election Cyber Incident Communications Coordination Guide,” and “The Election Incident
Communications Plan Template.” In December 2019, we released the “The Elections Battle Staff Playbook,” to build
on how election officials continue their work in countering this new era of information threats to the already demanding
work in administering elections.1


D3P is a bipartisan team of cybersecurity, political, national security, technology, elections and policy experts. Throughout
the course of our work, we’ve visited with over 34 state and local election offices, observed the November 2017 election, the
2018 midterms and conducted interviews across the election and national security field and conducted research to identify
nuances in election processes and corresponding risk considerations. We have had the honor of training hundreds of officials
from across the country during national “tabletop exercise (TTXs)” to increase awareness of the cybersecurity and informa-
tion threats elections face and explore mitigation strategies. Ahead of the 2020 election we conducted a live national TTX
and trained over 750 officials nationally through sessions on cyber and information threats and digital TTXs.


We have had the honor of training hundreds of officials from across the country during national TTXs. After releasing
a first version of the Influence Operations Playbook in 2019, we received feedback on vital information that would help
officials report incidents. We also wanted to spend time researching and recommending how to best respond to these
incidents and develop communications tools. In less than a year, so much has changed in what we know about influence
operations, as have the tools available to report and counter them. As with all of our work, we hope these guides support
the incredible work that you do to defend democracy.


Influence Operations are an evolving threat. There are not concrete solutions. The strategies to counter these threats to
elections will also continue to evolve. The recommendations shared throughout the Playbook are informed by what we
know today with an understanding that we will continue to learn more about the best strategies and tools to bolster our
ability to counter these threats. Frameworks and recommendations shared in this Playbook are meant to be a starting
point and should be adapted for your jurisdiction’s needs


Thank you for your leadership and public service.


Best of luck,
The D3P Team


1     D3P Playbooks can be found at: https://www.belfercenter.org/project/defending-digital-democracy#!playbooks



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The Playbook Approach
This series of Playbooks aim to provide election officials with resources and recommenda-
tions on how to navigate information threats targeting elections.


The Playbook is divided into three parts that are intended to work together to understand,
counter, and respond to influence operations:



       The Election Influence Operations Playbook
       For State and Local Officials
       Part 1: Understanding Election Mis and Disinformation

       Part 2: The Mis/Disinformation Response Plan

       Part 3: The Mis/Disinformation Scenario Plans



Part 1 provides an introduction to Influence Operations: what they are, who is carrying
them out, why they can impact our elections, and how they work. It is designed as a preface
to Parts 2 and 3, which provide tactical, detailed advice on tangible steps you can take to
counter, report, and respond.




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Executive Summary
The threat of Influence Operations (IO) strikes the core of our democracy by seeking to
influence hearts and minds with divisive and often false information. Although malicious
actors are targeting the whole of society, these D3P Playbooks focus on a subset of influ-
ence operations—the types of disinformation attacks and misinformation inci-
dents most commonly seen around elections, where election officials are best posi-
tioned to counter them.


We understand that election officials face a large and growing list of responsibilities in con-
ducting accurate, accessible, and secure elections. In this era of attacks on democracy, your
preparations, your response, and your voice as a trusted source within your jurisdiction, in
coordination with other officials across your state, will strengthen your ability to effectively
counter these threats.


This Playbook helps you both respond to and report these incidents. It connects you to orga-
nizations that can support your process, like the Cybersecurity and Infrastructure Security
Agency (CISA), Department of Homeland Security (DHS), the Elections Infrastructure
Information Sharing and Analysis Center (EI-ISAC), the Federal Bureau of Investigation
(FBI), the National Association of Secretaries of State (NASS), and the National Association
of State Election Directors (NASED).


Social media platforms are creating more ways for election officials to report false informa-
tion that may affect elections. This Playbook provides you with an introduction to some of
the most prominent online platforms where these incidents could gain traction and shares
information so you can report incidents. It also highlights tools that can aid your response.


U.S. national security officials have warned that malicious actors will continue to use influ-
ence operations and disinformation attacks against the United States during and in the lead
up to the 2020 election. Election officials must be prepared. Our hope is that this Playbook
can be a resource to help you counter these evolving threats in your work protecting our
democracy.




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101: Influence Operations,
Disinformation and Misinformation

What are Influence Operations?
Defining Mis/Disinformation

Influence Operations (IO), also known as Information Operations, are a series of warfare
tactics historically used to collect information, influence or disrupt the decision making of
an adversary.2,3 IO strategies intentionally disseminate information to manipulate public
opinion and/or influence behavior. IO can involve a number of tactics. One of these tac-
tics, most recently and commonly seen in an effort to disrupt elections, is spreading false
information intentionally, known as “disinformation.”4 Skilled influence operations often
deliberately spread disinformation in highly public places like social media. This is done
in the hope that people who have no connection to the operation will mistakenly share this
disinformation. Inaccurate information spread in error without malicious intent is known
as ‘misinformation’.5


        Disinformation is false or inaccurate information that is spread deliberately with malicious intent.

        Misinformation is false or inaccurate information that is spread mistakenly or unintentionally.


IO tactics can include using non-genuine accounts on social media sites (known as ‘bots’),
altered videos to make people appear to say or do things they did not (known as ‘deep fakes’),
photographs or short videos with text embellishments or captions (known as ‘memes’), and
other means of publicizing incorrect or completely fabricated information. Content is often
highly emotive, designed to increase the likelihood that it will be further shared organically
by others.
2    “Information Operations, Joint Publication 3-13” Joint Chiefs of Staff. November 20, 2014.https://www.jcs.mil/Portals/36/
     Documents/Doctrine/pubs/jp3_13.pdf.
3    “Information Operations” Rand Corporation. https://www.rand.org/topics/information-operations.html.
4    “Information Disorder: Toward an interdisciplinary framework for research and policymaking” Claire Wardel, Hossein Derakhshan,
     Council of Europe. September 2017. https://shorensteincenter.org/information-disorder-framework-for-research-and-
     policymaking/.
5    Ibid.



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These are only some tactics using information to influence. This Playbook explores mis and
disinformation incidents that specifically focus on elections operations and infrastructure.
As an election official you may not often see or know what the motivation is behind the inci-
dents you encounter, or whether they are mis or disinformation. Throughout these guides we
refer to mis/disinformation incidents together, as the strategies for countering or responding
to them are the same.



Who is Engaging in Mis/Disinformation?


Social media has made it easy for bad actors, including nation states, to organize coordinated
influence operations at an unprecedented scale. These same technologies have enabled
individuals to engage with mis and disinformation, independently of coordination by nation-
states or other actors. Individuals that engage with malicious intent in spreading or amplify-
ing mis or disinformation are often referred to as ‘trolls’. Their engagement in furthering this
information can help spur its spread and traction.


The U.S. intelligence community concluded that the Russian government ran a disinforma-
tion operation to distort U.S. public opinion during the 2016 elections.6 Russian intelligence
officers created hundreds of fictitious U.S. personas to polarize and pollute our political dis-
cussion. But Russia is not alone. China is conducting a long-term disinformation operation
to manipulate sentiments of American audiences into supporting and voting for pro-China
policies.7 Iran is similarly recognized as a state actor emergent in its use of IO tactics.


In the past couple of years, there has been a rise in domestic use of disinformation whereby
domestic actors capitalize on either domestically or foreign-generated disinformation by
pushing it aggressively on social media to further their agenda. In 2016, foreign actors largely
created false content that they perpetuated, now their prevailing tactics seek to amplify
domestically created content. This trend raises cause for concern that election targeted IO
can also be used by foreign or domestic actors for political purposes, and election officials, in
particular, have voiced alarm about how to counter domestic disinformation campaigns.


6    “Background to “Assessing Russian Activities and Intentions in Recent US Elections”: The Analytic Process and Cyber Incident
     Attribution.” Office of the Director of National Intelligence. January 2017. https://www.dni.gov/files/documents/ICA_2017_01.pdf.
7    “China’s Influence & American Interests: Promoting Constructive Vigilance.” Hoover Institution, Stanford University. November
     2018. https://www.hoover.org/research/chinas-influence-american-interests-promoting-constructive-vigilance.



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Why do Mis/Disinformation Incidents Matter?

By feeding U.S. social media and daily news a steady diet of misleading information, adversar-
ies are trying to erode Americans’ trust in election processes and outcomes. These attacks seek
to influence policy priorities, sway voter turnout, disrupt the timing and location of election
processes like voting and registration, and undermine the public’s faith in election officials.


In 2018, Pew Research Center found that 47% of Americans feel somewhat confident in the
accuracy of their vote being counted.8 In 2020, research from Gallup showed that a majority
of the public (59%) feel low confidence in the honesty of the elections process.9 Mis and dis-
information incidents can exacerbate issues of confidence and distrust in the integrity of the
election . As an official, your ability to recognize and counter these incidents to ensure voters
are not deceived in exercising their right to vote, is essential.


Although reporting these incidents has been an important part of countering them, we
believe the equally important countermeasure is your response. Your ability to be a trusted
voice in sharing accurate information that counters false information is important. Always
consider how your responses may interact with the complex factors behind these incidents,
which may be difficult to predict and plan for.


During our work to write these guides, we collected some example scenarios that are drawn
from past events, or narratives we judge to be highly likely in the coming election. While mis/
disinformation vary, common mis/disinformation messages most likely to gain traction in
elections are:


•   The voting process is confusing and difficult (particularly with the rise in vote by mail).

•   There has been a failure in the mechanics of how elections are run.

•   Political partisans are “stealing the election.”

•   The people who run elections are corrupt.

•   COVID-19 concerns are impeding voting or delaying the election.
8    “Elections in America: Concerns Over Security, Divisions Over Expanding Access to Voting Pew Research Center” Pew Research
     Center. October 2018. https://www.pewresearch.org/politics/2018/10/29/confidence-in-accurate-vote-counts-election-
     administration/
9    “Faith in Elections in Relatively Low Supply.” Gallup. “https://news.gallup.com/poll/285608/faith-elections-relatively-short-
     supply.aspx. Feb 13.2020.



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•   Results that are not in by election night call into question the administration or legiti-
    macy of the election.


Part 3 of the IO Playbook, the Mis/Disinformation Scenario Plans, offers scenario planning
materials expanding on these examples. It is available exclusively for election officials.




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Case Study on Misinformation: Franklin County, Ohio

Misinformation incident:
Video with Mistaken Information


Incident: On Election Day in 2018, a video went viral
on Twitter and Facebook that showed a dysfunctional
voting machine in Franklin County, Ohio. The video
claimed the machine was intentionally changing a vote
from one candidate to another after it had been cast.

Franklin County officials spotted the tweet and
Facebook post and immediately investigated the inci-
dent. They found that the posts were misleading. In reality, a voting machine had a simple paper
jam which delayed the printed paper ballot several minutes after a vote was cast on the device.




Reporting: Franklin County officials escalated the issue to the Ohio Secretary of State’s Office,
who worked with NASS, NASED, and other federal agencies to report this misleading content to
Facebook and Twitter. After an investigation from independent fact-checkers, Facebook took the
video down under its voter suppression policies. Twitter did not remove the video, but promoted
tweets by Franklin County’s spokesperson that exposed the original content as disinformation.


Response: In parallel, Ohio state and Franklin County officials launched a public com-
munications effort to correct the misleading information. Spokespersons for the Ohio
Secretary of State and Franklin County Board of Elections coordinated outreach to CNN,
the Associated Press, and other news organizations to clarify why the video was false. The
Franklin County Board of Elections posted an article on its Facebook page.


Within hours, County officials had successfully limited the scope and impact of this incident.


                                                                                                    10
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Case Studies on Disinformation: North Carolina

Disinformation Incident:
Fake Facebook Page in Swain County


Incident: In December 2019, a County
Sheriff in North Carolina notified local
election officials that they had seen a
suspicious Facebook page. It claimed
to be the page of Swain County’ Board
of Elections. Swain County Board of
Elections confirmed that they did not have
a Facebook page.


Reporting: Swain County Officials
swiftly reported the spoof page to their
State Board of Elections. Officials made
use of the links they had established with Facebook representatives ahead of the election.
They included a screenshot of the spoof page, as well as the URL. Facebook took the page
down on the same day it was reported.


Response: State and County Officials assessed that the page was currently low profile, with
few active followers and likes. They decided that a public communications response would
likely bring more attention to the spoof site and chose not to respond via public communi-
cations channels. Within hours, Swain County and North Carolina officials had resolved the
incident.




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Disinformation Incident: Twitter Results
Disinformation Amplified in Lenoir County


Incident: In November of 2019, Lenoir County held
municipal elections. Lenoir is a rural county in North
Carolina.


A candidate standing in the election notified the
Lenoir County Board that an account on Twitter had
begun posting “exit poll results”. At the time, the exit
polls had not yet taken place. In-person early voting
had not yet begun, and the number of by-mail absen-
tee ballots cast was so small that the percentages
being reported by the account were impossible.


Officials later noted the manner in which this Twitter
account reported “results” sought to stoke tension around divisive issues. The posts began to
gain traction, receiving attention from other candidates.


Reporting: Lenoir County Board of Election officials reported the incident to North
Carolina Board of Elections (NCBE) officials. Other actors also reported the Twitter account
to the NCBE too.


The NCBE reported the incident to Twitter, using the social network’s reporting portal.
NASED also reported the incident to Twitter after being made aware of it by NCBE. Twitter
investigated swiftly and was able to respond to the NCBE within hours. However, in this
case Twitter determined that the content did not violate their policies and the tweets were
not taken down. NASED continued to engage with Twitter to clarify how the decision on the
incident applied to Twitter’s policies.


Response: NCBE worked with Lenoir County Board officials to respond. Given the traction,
officials refuted claims from their Twitter account. The account’s suggestions of “voting
straight ticket” for one political party indicated that this was a potential disinformation
incident. North Carolina prohibits voting this way.


Although the incident could not be removed, reporting was important.


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The Cycle of an Influence Operation
The full scope of an influence operation is varied and hard to piece together with publicly
available information. However, analyzing past election cycles, there are broad trends that
help detail how many incidents of disinformation coordinate to reach different phases in an
overall influence operation.10 Understanding this broader process can help your analysis of
incidents you might face.

 1. Targeting             2. Moving                      3. Amplifying and                    4. Making the Mainstream
 Divisive issues          Accounts into                  Distorting the
                          Place                          Conversation

 Not to win               Building social media          Using our free speech                “Fan the flames” by creating
 arguments, but to        accounts with a large          tradition against us. Try            controversy, amplifying the most
 see us divided.          following.                     to pollute debates with              extreme version of arguments.
                                                         bad information and make             Can be shared by legitimate
                                                         positions more extreme.              sources and can make it into the
                                                                                              mainstream.




1. Targeting Divisive Issues11

Influence Operations seek to target societal wedge issues and intensify them. Issues we
might consider politically divisive have been a prime target. The goal of these operations is
to further divide us and stoke tensions among us.


The U.S. Department of Justice’s criminal complaint against one of the alleged actors in the
Russian influence operations during the 2016 election details some of the issues chosen to
conduct IO:12




10     Cybersecurity and Infrastructure Security Agency (CISA) “War on Pineapple: Understanding Foreign Interference in 5 Steps.”
       https://www.dhs.gov/sites/default/files/publications/19_0717_cisa_The-war-on-pineapple-understanding-foreign-interference-
       in-5-steps.pdf. June 2019.
11     Cybersecurity and Infrastructure Security Agency (CISA) “War on Pineapple: Understanding Foreign Interference in 5 Steps.”
       https://www.dhs.gov/sites/default/files/publications/19_0717_cisa_The-war-on-pineapple-understanding-foreign-interference-
       in-5-steps.pdf. June 2019.
12     United States of America v. Elena Alekseevna Khusyaynova. No.I.18-MJ-464. United States District Court, Eastern District of
       Virginia, Alexandria Division. September 28, 2018. Paragraph 25. https://www.justice.gov/usao-edva/press-release/file/1102591/
       download



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•    Immigration
•    Gun control and the Second Amendment
•    The confederate flag
•    Racial issues and race relations
•    LGBTQ issues
•    The Women’s March
•    The NFL national anthem debate


The complaint notes that these actors used incidents like shootings of church members in
Charleston, South Carolina, and concert attendees in Las Vegas, Nevada to further themes
and messages.



2. Moving Accounts into Place13

Influence operations conducted by malicious actors often invest time and resources in
building large followers of authentic and inauthentic users (‘bots’) on social media plat-
forms. Actors can have multiple social media accounts. They use tools like paid advertising,
and algorithmic learning to better target messages and ads for increased engagement by
platform users with the content they create or share.14




13    Cybersecurity and Infrastructure Security Agency (CISA) “War on Pineapple: Understanding Foreign Interference in 5 Steps.”
      https://www.dhs.gov/sites/default/files/publications/19_0717_cisa_The-war-on-pineapple-understanding-foreign-interference-
      in-5-steps.pdf. June 2019.
14    Michael Bennet. “Dividing America: How Russia Hacked Social Media and Democracy.” July 2019.



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These examples were created by Russia in the 2016 election. In the ‘Don’t Shoot’ example
on the right, they created a fake website and linked it to a Facebook page. Using paid adver-
tising, this Facebook page targeted users interested in this issue and engaged them. To
Facebook users, this looked like a valid official organization. False content is created with
the goal of engaging users. In the ‘We the People’ example on the left, the Russians targeted
supporters of a presidential candidate, and those of a similar political ideology. They created
Facebook pages focused on these supporters to gain followers. They used tools like paid
advertising to target supporters and tried to engage them by signing a petition to disqualify a
presidential opponent.15



3. Amplifying and Distorting the Conversation16

Malicious actors often seek to distort debates in U.S. civil discourse by intentionally starting
a fight or “trolling” people. Sometimes bots (fake accounts) are used to amplify this divided
dynamic. The goal is to elicit strong emotions, create engagement and influence perception.



4. Making it Mainstream17

By creating division across conversations or issue areas, malicious actors intentionally ele-
vate the extremes of arguments in a particular issue area to create controversy and attention.
By effectively positioning accounts that engage with real people, the information shared is
further spread until it gets to more legitimate information sources—even ultimately main-
stream media, or moving offline into in-person activities, like the 2016 protests organized by
Russian operatives. Going mainstream is the mark of a successful influence operation.18




15   Ibid, p. 14.
16   Cybersecurity and Infrastructure Security Agency (CISA) “War on Pineapple: Understanding Foreign Interference in 5 Steps.”June
     2019.
17   Cybersecurity and Infrastructure Security Agency (CISA) “War on Pineapple: Understanding Foreign Interference in 5 Steps.”June
     2019.
18   Michael Bennet. “Dividing America: How Russia Hacked Social Media and Democracy.” July 2019.



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Common Themes in IO
Targeting Elections

Top Targets of Election Interference: The “Five Questions”


Key to combating mis/disinformation is early identification before it takes off in
the public conversation. Disinformation targeting elections, and resulting misinforma-
tion, typically falls into one of the five questions of how elections run—the who, what, when,
where, and how of the election process.


5 Questions of the Election Process:


   Who?          The people who make elections run.

   What?         The machines, systems and ways that we vote.

   When?         The day(s), time, places and deadlines that help us come together to vote.

   Where?        Where we show up to exercise democracy.

   How?          How voting happens.


As an election official, you can help counter mis/disinformation incidents by ensuring that
you have provided clear, well publicized accurate information about each of these questions
well in advance of election day. In addition, you can monitor and fact-check content shared
online or by your constituents across any of these five categories. These efforts will enable
you to identify mis/disinformation early and help you respond to it more effectively.




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WHO?                                                        The most prominent targets include:

Mis/Disinformation incidents often focus                    Election officials in your office, or in offices
on the people that enable elections to run.                 lateral to yours (e.g., county to county) or
This effort may involve impersonating or                    vertical to yours (e.g., county to state)
disparaging elections-related groups or
individuals through hacked or fake social                   Poll workers and other volunteers, such as
media accounts, websites and articles.                      signature checkers or ballot counters

                                                            External staff, such as those who manage key
                                                            external systems like Motor Voter

                                                            Vendors, including companies or individuals

                                                            Third party or special interest groups with
                                                            access to large voter bases



WHAT?                                                       The most common targets include:

Mis/Disinformation incidents may spread                     Voter Registration Databases (VRDB)
false allegations of disrupted election
hardware, software, and infrastructure                      E-poll books
including vendor-managed systems. This
                                                            Vote-casting Devices
includes allegations of bias, malfunctioning,
or hacking.                                                 Vote Tally Systems

                                                            Election Night Reporting Systems (ENR)

                                                            Contentious Political Issues



WHEN?                                                       The most common targets include:

Mis/Disinformation incidents often                          When election day is
misrepresent facts about key times and dates
for elections. Elections can be catastrophically            When polls open and close
disrupted if voters do not know when they will
                                                            When you register to vote
occur, when to register to vote, or the times of
other key events.                                           When the deadlines are for early voting or
                                                            absentee voting




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 WHERE?                                                      The most common targets include:

 Mis/Disinformation incidents can disrupt                    Where you vote on election day (or early
 elections by reporting false information about              voting in states that offer it)
 locations involved in the elections process,
 including for voting, registration, or other                Where you register to vote
 events.
                                                             Where you return an absentee (or “mail-in”)
                                                             ballot

                                                             Where you vote on election day (or early
                                                             voting in states that offer it)



 HOW?                                                        The most common targets include:

 Mis/Disinformation incidents often                          Voting day processes that can involve
 misrepresent how key election events like                   mechanisms or procedures to do with
 voting or registration occur. This may involve              functions of elections like mail-In or
 suggesting that constituents can vote through               provisional ballots, Polling place processes, or
 a variety of unsanctioned methods (e.g., by                 absentee voting.
 Text Message, Twitter, Email).
                                                             Voter registration processes like where to
                                                             register, online or in-person registration or
                                                             same day registration




Common Disinformation Tactics

Malicious actors can use a wide array of tactics to spread mis or disinformation. This section
highlights some of the top tactics bad actors are most likely to use.


False claims about incidents - Bots and trolls spread and amplify reports of false or
embellished incidents. Individuals also do this. For example, state actors use state media and
state channels, including embassies or ambassadors, to promote narratives around inci-
dents. Individuals active on platforms may also express their own views on claims or inci-
dents they encounter. Hostile actors will seize on messages issued in response to the inci-
dent, highlighting inconsistencies, to control the narrative of the incident and prolong public
interest. These stories could be completely unsubstantiated or partially based on facts.


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Stirring civil discontent - Hostile actors have used two, related, approaches to stir civil
discontent:


     1. Direct activity - Trolls have approached civil society groups to incite the group to
        conduct provocative and aggressive behavior.


     2. Indirect activity - Trolls purporting to be followers or supporters of causes spread
        false, inaccurate, or misleading information targeted at civil society groups to inflame
        tensions.


Social media advertising - Highly targeted advertisements drawing on personal data
available to social media platforms, is used to micro-target specific demographics or groups
of voters. Examples of social media advertising include ads leading up to the 2016 election
targeting voters in swing states on divisive issues such as second amendment rights and
immigration.19


Search result manipulation and optimization - Use of techniques to push search results
to the top of Google and other search engines. Results that appear higher in search results
are significantly more likely to be clicked on and opened by users.20 Platforms including
Google continue to take steps to reduce search result manipulation.21


Misrepresentation and defamation - Creation of fake websites, Facebook pages, Twitter
accounts to misrepresent the views or outputs of an organization or person. This includes
websites and social media posts that detail false voter registration processes, therefore
seeking to suppress votes.22




19    “How Russian Facebook Ads Divided and Targeted US Voters Before the 2016 Election.” WIRED. April 2018. https://www.wired.
      com/story/russian-facebook-ads-targeted-us-voters-before-2016-election/.
20    “Google Organic CTR History.” Advanced Web Ranking. May 2020. https://www.advancedwebranking.com/ctrstudy/
21    “Why keeping spam out of Search is so important.” Google. June 2020.https://www.blog.google/products/search/how-we-keep-
      spam-out-of-search/
22    “Microsoft Foils Russian Security Threat, Seizes Fake Political Websites.” SDXCentral. August 2018. https://www.sdxcentral.com/
      articles/news/microsoft-foils-russian-security-threat-seizes-fake-political-websites/2018/08/.



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Memes - Photographs or short videos with captions or other text. These usually aim to be
humorous and/or highly emotive, to make them more likely to be shared.23




                       Image source: “The Tactics & Tropes of the Internet Research Agency.”



Edited visual content - Photographs and videos that have certain elements altered to make
it look like something happened that did not. Videos of this kind are known as ‘deep fakes’,
and, using modern technology, can even make it appear that someone said something they
did not.24




                                           Image source: The New York Times.

23   New Knowledge. “The Tactics & Tropes of the Internet Research Agency.” Renee DiResta, et al. December 18, 2018.
24   New York Times,”We Asked for Examples of Election Misinformation. You Delivered.” Kevin Roose. Nov 4, 2018. https://www.
     nytimes.com/2018/11/04/us/politics/election-misinformation-facebook.html



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Steps to Counter Influence Operations
Mis/Disinformation incidents make public education and transparency even more import-
ant than it already is in your work to serve voters. Whether you are a small or large jurisdic-
tion, your steps to help an efficient and quick response matter.


Part 2 of D3P’s Election Influence Operations Playbook, The Mis/Disinformation Response
Plan, focuses on actionable steps to respond to mis and disinformation incidents. In order
to respond effectively, we suggest a 4-phased response that targets both the Operations and
Incident Communications elements of your team to counter influence operations. This
approach follows a cycle: Anticipate & Prepare, Identify & Assess, Respond & Resolve,
Learn & Improve.




Mis/disinformation occurs before, during, and after elections. Each phase of this process
and our baseline response plan will help you and your teams prepare, act, and respond
through the continuous nature of these incidents to counter them effectively.




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Appendix 1:
101 Overview of Social Media
Platforms and Websites
Mis/disinformation content frequently spreads fastest and most effectively via social media
and other online platforms. Below is a list with descriptions of some of the most significant
platforms and websites on which mis/disinformation can spread. The popularity of these
platforms changes rapidly, with new ones emerging and old favorites becoming less widely
used.



Facebook: An extensive social network of individuals that can read, react to, and spread
mis/disinformation at global scale. With large text and file size allowances, Facebook enables
mis/disinformation campaigns to provide significant depth to misleading comments and
posts.


•   Who uses it: 2.4 billion users from all around the world. 220 million users in the U.S.
    Users are generally older than those on other platforms, with an average age of ~40.

•   Features: Large suite of resources, including one-on-one messaging, public posts to all
    friends, interest pages, groups, businesses, and paid advertising.



Google: Google is the most widely used search engine worldwide. Relevant news stories
appear at the top of Google search results for searches about current events.


•   Who uses it: Google handles trillions of searches a year. Users come from all over the
    world.

•   Features: Provides links to websites on the basis of user searches. Summaries of key
    information can appear alongside search results in knowledge panels or business
    profiles.




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Instagram: Owned by Facebook, it offers a “curated” feed of photos and videos that users
scroll through.


•   Who uses it: 1 billion monthly active users around the world, with 120 million in the U.S.
    Users are typically younger, with 70% of users under 35 years old.

•   Features: Public photo and video sharing platform with simple scroll-down functionality.
    Users can also share “stories” that briefly show a series of photos and videos. The ‘Reels’
    feature, released in August 2020, allows accounts to publish short videos that can be
    viewed by people who are not followers of that account, potentially broadening accounts’
    reach. IGTV is a standalone video application by Instagram and stories can be viewed
    and saved with no time limitation.



Reddit: A minimally formatted platform made up of open forums called subreddits, whose
subjects can cover any topic and content includes text, links, and images. The high volume of
external links shared via Reddit can help a disinformation campaign spread undetected.


•   Who uses it: 330 million users with 2.8 million comments a day, and 26.4 million U.S.
    users.

•   Features: As a social sharing site, it is based on a voting system where the most popular
    content rises to the top, while downvoted content is less visible.



Snapchat: This platform provides an “expiring” photo, video, and/or message to users that
can be viewed for a maximum of ten seconds. This format limits the viral potential of mis/
disinformation campaigns on Snapchat, but it can still be used to reinforce disinformation
spread on other platforms.


•   Who uses it: 229 million daily active users, primarily in the U.S. and the E.U. Users are
    typically younger, with more than 50% of users under 35 years old.

•   Features: Filters which alter users’ appearance are popular. Businesses and other organi-
    zations can pay to display content in a separate Snapchat feed.




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TikTok: Launched in 2016, TikTok has quickly risen to global popularity thanks to its short
video format. It is owned by Beijing-based ByteDance. Although only 30 million of its users
are in the U.S., it is growing here by almost 400% per year, and has frequently been close to
the top of the monthly most downloaded apps rankings. At the time of publication, TikTok is
facing the possibility of being closed down in the U.S. The company is also fielding offers by
U.S. companies to acquire its U.S. operations.


•   Who uses it: Over 800 million users worldwide, over half of which are in China. Over 60%
    of users are under 25.

•   Features: Individual videos are restricted to 15 seconds. Lip syncing to songs and dance
    videos are popular. Videos can be downloaded and shared on other platforms.



Twitter: Provides a social platform that can solicit rapid response and reaction through
“likes” and “retweets.” Given text limits (140 or 280 characters) and limited video upload
sizes, mis/disinformation campaigns on Twitter can be more concise, image, meme, and
video-based, and targeted at a specific incident using hashtags (‘#’) to link related content
together. When a topic is ‘trending’, it means that the hashtag of that topic is being widely
used. Hashtags are now widely used across a range of other platforms.


•   Who uses it: 166 million daily users, with most usage in U.S., Japan, and the E.U.

•   Features: Public micro-blogging platform with each post limited to 280 characters.
    Videos, images and other web links can be shared.



WhatsApp: A direct messaging application owned by Facebook. It has been used in mis/
disinformation campaigns across Asia, Latin America and elsewhere. Because WhatsApp
is a closed peer-to-peer network, external parties cannot identify mis/disinformation
independently.


•   Who uses it: 70 million users in the U.S., and 1.5 billion users overall worldwide, mostly
    in Europe, Asia, and Latin America.

•   Features: Private small-group messaging application, with text and phone call features,
    as well as short video (c.90 second limit), photo and other file (e.g. documents) sharing.



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YouTube: Owned by Google, YouTube is a video sharing platform. Videos hosted on
YouTube may be embedded on other sites and shared through other technologies and
services.


•   Who uses it: Every day, users from all over the world watch over a billion hours of
    YouTube videos.

•   Features: Users can subscribe to the ‘channel’ of their favorite content creators to receive
    notifications every time new videos are uploaded. Comments sections under videos
    enable users to discuss content and share ideas and links.



4chan: This is an imageboard website that divides discussions into threads, each of which
is governed by separate guidelines including expiration deadlines of content. The website is
seen as a controversial forum that has helped the spread of disinformation.


•   Who uses it: 4chan says it has 22 million unique monthly users, and that the majority
    of its users are young, college-educated males who primarily live in English-speaking
    countries.

•   Features: 4chan preserves complete anonymity of its users. This anonymity can be a
    volitile factor for purposes of mis and disinformation.




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Do you see a way to make this Playbook better?
IO threats are evolving, is there new information we should address?
We want your feedback.
Please share your ideas, stories, and comments on Twitter @d3p using the hashtag
#IOplaybook or email us at connect@d3p.org so we can continue to improve this
resource as the digital environment changes.




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